Case 15-71563-sms               Doc 111          Filed 03/30/18 Entered 03/30/18 13:03:39                                    Desc Main
                                                Document      Page 1 of 8




   B2100A (Form 2100A) (12/15)


                             United States Bankruptcy Court
                             Northern
                             _______________             Georgia
                                             District Of _______________
         Rita Ann Rose
   In re ______________________________,                                     15-71563-mgd
                                                                    Case No. ________________



                     TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a).
   Transferee hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the
   transfer, other than for security, of the claim referenced in this evidence and notice.

    Greenpoint Mortgage Funding, Inc                                            Capital One N.A
   ______________________________________                                      ____________________________________
              Name of Transferee                                                           Name of Transferor

   Name and Address where notices to transferee                                 Court Claim # (if known):     8-1
   should be sent:                                                              Amount of Claim:       $4,890.81
    Rushmore Loan Management Services                                           Date Claim Filed:     04/15/2016
    P.O. Box 55004
    Irvine, CA 92619-2708

          888-699-5600
   Phone: ______________________________                                               N/A
                                                                               Phone: __________________________
   Last Four Digits of Acct #: ______________
                               8795                                            Last Four Digits of Acct. #: __________
                                                                                                            7773

   Name and Address where transferee payments
   should be sent (if different from above):
     Rushmore Loan Management Services
     P.O. Box 52708
     Irvine, CA 92619-2708

           888-699-5600
   Phone: _______________________________
   Last Four Digits of Acct #: _______________
                               8795



   I declare under penalty of perjury that the information provided in this notice is true and correct to the
   best of my knowledge and belief.

      /s/Brian K. Jordan
   By:__________________________________                                              03/30/2018
                                                                                Date:____________________________
          Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
Case 15-71563-sms   Doc 111    Filed 03/30/18 Entered 03/30/18 13:03:39   Desc Main
                              Document      Page 2 of 8
Case 15-71563-sms   Doc 111    Filed 03/30/18 Entered 03/30/18 13:03:39   Desc Main
                              Document      Page 3 of 8
Case 15-71563-sms                Doc 111        Filed 03/30/18 Entered 03/30/18 13:03:39                          Desc Main
                                               Document      Page 4 of 8
 FACTS: What does Rushmore Loan Management Services, on behalf of itself and the owner of your loan, do with your
 personal information?



 WHY?         Financial companies choose how they share your personal information. Federal law gives consumers the right to
 limit some but not all sharing. Federal law also requires us to tell you how we collect, share, and protect your personal
 information. Please read this notice carefully to understand what we do.


 WHAT?           The types of personal information we collect and share depend on the product or service you have with us.
 This information can include:
 §     Social Security numbers and income
 §     Account balances and payment history
 §     Credit history and credit scores


 HOW?         All financial companies need to share customers’ personal information to run their everyday business. In the
 section below, we list the reasons financial companies can share their customers’ personal information; the reasons Rushmore
 Loan Management Services, on behalf of itself and the owner of your loan, chooses to share; and whether you can limit this
 sharing.


                                                                  When Does Rushmore
                                                                                                       Can I Limit the
Reasons We Need To Share Your Personal                            Loan Management
                                                                                                       Sharing of This
Information                                                       Services Share My
                                                                                                       Information?
                                                                  Information?
For our everyday business purposes —
such as to process your transactions, maintain your account(s),                 Yes                              No
respond to court orders and legal investigations, or report to
credit bureaus
For our marketing purposes —                                                    Yes                              No
to offer our products and services to you
For joint marketing with other financial companies                              Yes                              No

For our affiliates’ everyday business purposes —                                                         We don’t share, not
                                                                                No
information about your transactions and experiences                                                          applicable.

For our affiliates’ everyday business purposes —                                                         We don’t share, not
                                                                                No
information about your creditworthiness                                                                      applicable.
                                                                                                        We don’t share, not
For non-affiliates to market to you                                             No
                                                                                                            applicable.
                                                                           For Questions Call 888-504-6700 or go to
                                                                                   www.rushmorelm.com




                                                     Who We Are
                                                                  Rushmore Loan Management Services, on behalf of itself and
Who is providing this notice?                                     the owner of your loan.

                                                                  To protect your personal information from unauthorized
                                                                  access and use, we use security measures that comply with
                                                                  federal law. These measures include computer safeguards and
                                                                  secured files and buildings. We restrict access to non-public
                                                                  personal information about you to those persons who need to
How does Rushmore Loan Management Services                        know that information to manage your account or provide
protect my personal information?                                  products or services to you, as permitted under applicable
                                                                  law. We maintain physical, electronic, and procedural
                                                                  safeguards that comply with applicable federal and state
                                                                  regulations to guard your non-public personal information.
Case 15-71563-sms                Doc 111         Filed 03/30/18 Entered 03/30/18 13:03:39                           Desc Main
                                                   Who WePage
                                                Document       Are5 of 8
                                                                   We collect your personal information from a variety of
                                                                   sources, including:
                                                                   § Information you provide us in connection with your
                                                                   account
How does Rushmore Loan Management Services
                                                                   § Information about your account, including balances and
collect my personal information?
                                                                   payment history
                                                                   § Information we receive from outside sources, such as
                                                                   consumer credit reporting agencies

                                                                   Federal law gives you the right to limit only
                                                                   § sharing for affiliates’ everyday business purposes —
                                                                   information about your creditworthiness
                                                                   § affiliates from using your information to market to you
                                                                   § sharing for non-affiliates to market to you, unless such
Why can’t I limit all sharing?                                     non-affiliates are parties to Joint Marketing Agreements with
                                                                   us
                                                                   State laws and individual companies may give you additional
                                                                   rights to limit sharing. See below for more on your rights
                                                                   under state law.

What happens when I limit sharing for an account I                 Your choices will apply to everyone on your account.
hold jointly with someone else?


                                                      Definitions
                                                                   Companies related by common ownership or control. They
                                                                   can be financial and nonfinancial companies.
                                                                   § Rushmore Loan Management Services does not share with
Affiliates
                                                                   our affiliates.

                                                                   Companies not related by common ownership or control.
                                                                   They can be financial and nonfinancial companies.
                                                                   § Rushmore Loan Management Services does not share with
Non ffiliates                                                      non-affiliates so they can market to you.

                                                                   A formal agreement between non-affiliated financial companies
                                                                   that together market financial products or services to you.
                                                                   § Our joint marketing partners include mortgage companies
Joint Marketing Agreement
                                                                   and other companies that we believe may help you to improve
                                                                   your credit rating, manage your debts or refinance your loan.

                                                                   A formal agreement between non-affiliated financial companies
                                                                   that together market financial products or services to you.
                                                                   Our joint marketing partners include mortgage companies and
Joint Marketing Agreement
                                                                   other companies that we believe may help you to improve
                                                                   your credit rating, manage your debts or refinance your loan.


                                    Other Important Information
California Residents. If you are a resident of California, you are permitted to limit our disclosure of your non-public personal
information to non-affiliated financial institutions with which we have a joint marketing agreement. You may request that we not
share your non-public personal information with these third parties by (1) completing, signing and returning to us the attached
form entitled “Important Privacy Choices for Consumers” or (2) notifying us using one of the methods set forth in the
“Important Privacy Choices for Consumers.” Except as set forth above, Rushmore Loan Management Services will not share
your non-public personal information with other unaffiliated third parties.

Vermont Residents. If you are a resident of Vermont, as stated above, Rushmore Loan Management Services will not disclose
personal information that we collect about you to non-affiliated third parties except to enable them to provide marketing services
on our behalf, to perform joint marketing agreements with other financial institutions, or as required or permitted by law or
applicable regulatory or industry standards or practices. To the extent we enter into such joint marketing agreements with other
financial institutions, we will only provide those institutions with your name, contact information and information about our
transactions and experiences with you.
Case 15-71563-sms                   Doc 111           Filed 03/30/18 Entered 03/30/18 13:03:39                                       Desc Main
                                                     Document      Page 6 of 8
 Servicemembers Civil                          U.S. Department of Housing                                          OMB Approval
   Relief Act Notice                              and Urban Development                                             2502-0584
       Disclosure                                    Office of Housing                                              Exp 12/31/17

 Legal Rights and Protections Under the SCRA

 Servicemembers on “active duty” or “active service,” or a spouse or dependent of such a servicemember may be entitled to certain
 legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC App. §§ 501-597b) (SCRA).

 Who May Be Entitled to Legal Protections Under the SCRA?
   • Regular members of the U.S. Armed Forces (Army, Navy, Air Force, Marine Corps and Coast Guard).
   • Reserve and National Guard personnel who have been activated and are on Federal active duty
   • National Guard personnel under a call or order to active duty for more than 30 consecutive days under section
           502(f) of title 32, United States Code, for purposes of responding to a national emergency declared by the
           President and supported by Federal funds
      •    Active service members of the commissioned corps of the Public Health Service and the National Oceanic and
           Atmospheric Administration.
      •    Certain United States citizens serving with the armed forces of a nation with which the United States is
           allied in the prosecution of a war or military action.

 What Legal Protections Are Servicemembers Entitled To Under the SCRA?
      •    The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to entering
           military service shall not bear interest at a rate above 6 % during the period of military service and one year thereafter, in
           the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a mortgage, or during
           the period of military service in the case of any other obligation or liability.
      •    The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one year
           after the servicemember’s military service, a court may stop the proceedings for a period of time, or adjust the debt.
           In addition, the sale, foreclosure, or seizure of real estate shall not be valid if it occurs during, or within one year
           after the servicemember’s military service unless the creditor has obtained a valid court order approving the sale,
           foreclosure, or seizure of the real estate.
      •    The SCRA contains many other protections besides those applicable to home loans.

 How Does A Servicemember or Dependent Request Relief Under the SCRA?

      •    In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or spouse must
           provide a written request to the lender, together with a copy of the servicemember’s military orders.
                                 Rushmore Loan Management Services LLC
                           15480 Laguna Canyon Road, Suite 100 / Irvine CA 92618
                                    (888) 504-6700 / Fax: (949) 453-9397
      •    There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a copy of a
           servicemember’s military orders to the lender in connection with a foreclosure or other debt enforcement action
           against real estate. Under these circumstances, lenders should inquire about the military status of a person by
           searching the Department of Defense’s Defense Manpower Data Center’s website, contacting the servicemember,
           and examining their files for indicia of military service. Although there is no requirement for servicemembers to alert
           the lender of their military status in these situations, it still is a good idea for the servicemember to do so.

 How Does a Servicemember or Dependent Obtain Information About the SCRA?

      •    Servicemembers and dependents with questions about the SCRA should contact their unit’s Judge Advocate, or their
           installation’s Legal Assistance Officer. A military legal assistance office locator for all branches of the Armed Forces is
           available at http://legalassistance.law.af.mil/content/locator.php
      •    “Military OneSource” is the U. S. Department of Defense’s information resource. If you are listed as entitled to legal
           protections under the SCRA (see above), please go to www.militaryonesource.mil/legal or call 1-800-342-9647 (toll
           free from the United States) to find out more information. Dialing instructions for areas outside the United States are
           provided on the website.




                                                                                                                           Form HUD-92070
                                                                                                              (12/2014 amended BOI 01/2015)
 Case 15-71563-sms                  Doc 111      Filed 03/30/18 Entered 03/30/18 13:03:39                                     Desc Main
                                                Document      Page 7 of 8
                                            Rushmore Loan Management Services LLC
                                      Substitute Form W-9
               REQUEST FOR TAX PAYER IDENTIFICATION NUMBER AND CERTIFICATION
                                   PRIVACY ACT STATEMENT
 Section 6109 of the Internal Revenue Code requires you to give your correct Taxpayer Identification Number (TIN) to persons who must file
 information returns with the IRS to report interest, dividends and certain other income paid to you, mortgage interest you paid, the acquisition or
 abandonment of secured property, cancellation of debt or contributions you made to an IRA. The IRS will use the numbers for
 identification purposes and to help verify the accuracy of your tax return. The IRS may also provide this information to the Department of
 Justice for civil and criminal litigation and to cities, states and the District of Columbia to carry out their tax laws. You must provide your TIN
 whether or not you are required to file a tax return. Payers must general withhold 30% of taxable interest, dividend and certain other payments
 to a payee who does not give a TIN to a payer. Certain penalties may also apply.
 Name
 Business Name                                                                       Exempt From Backup Withholding

 Address (Number, Street, Apt. or Suite No.)
 City, State and ZIP Code                                                            List Account Number(s) (Optional)
 SECTION I – TAXPAYER ID NUMBER, PAYEE TYPE AND BUSINESS OWNERSHIP TYPE
                                                              TAXPAYER ID NUMBER

            Enter your Taxpayer Identification Number (TIN) in the appropriate box. For individuals,
            this is your Social Security Number (SSN). For other entities, it is your Employer
            Identification Number (EIN).

      Employer Identification Number (EIN)                                    -

      Social Security Number (SSN)                                             -                               -
                                                      (Please check one box in each column)

                        PAYEE TYPE                                   BUSINESS OWNERSHIP TYPE
    Individual                                               Sole Proprietorship
    Federal Government Agency                                Partnership
    State, Local Government Agency                           Corporation
    Law Firm or Practice                                     Government Agency
    Legal Service Provider                                   Trust
    Foreign/Non-resident (Provide the appropriate Form W-8)  Tax Exempt/Non-Profit
    Other (Please                                            Other (Please
explain)_______________________________                  explain)_________________________________
                                                         _________________________________________
________________________________________________
                                                         ________
CERTIFICATION INSTRUCTIONS – You must cross out item 2, below if you have been notified by the IRS that you are currently
subject to backup withholding because of underreporting of interest or dividends on your tax return. For real estate transactions, item 2 does not
apply. For mortgage interest paid, the acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement
account (IRA), and generally, payments other than interest and dividends, you are not required to sign the Certification, but you must provide your
correct TIN.
            SECTION II – CERTIFICATION
            Under penalties of perjury, I certify that:
                1. The number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be
                      issued to me), and
                2. I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been
                      notified by the IRS that I am subject to backup withholding as a result of failure to report all interest and dividends, or
                      (c) the IRS has notified me that I am no longer subject to backup withholding, and
                3. I am a U.S. person (including a U.S. resident alien).
                4. I am not subject to FATCA reporting.
            The Internal Revenue Service does not require your consent to any provision of this document other than the
            certifications required to avoid backup withholding.

            Signature of U.S. Person                                                                                   Date

            Name (Please Print)                       Title                              Telephone Number              Fax Number
Case 15-71563-sms         Doc 111
                            Filed 03/30/18 Entered 03/30/18 13:03:39 Desc Main
                           Document      Page 8 of 8
                     UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF GEORGIA - ATLANTA DIVISION

 IN RE:                                           ) Case No. 15-71563-MGD
                                                  )
 RITA ANN ROSE,                                   ) Chapter 11
                                                  )
                Debtor.                           )
                                                  )

                                    CERTIFICATE OF SERVICE
   I, the undersigned, hereby certify under penalty of perjury that I am, and at all times hereinafter
mentioned, was more than 18 years of age, and that on the March 30, 2018, I served a copy of Transfer
of Claim which was filed in this bankruptcy matter on the March 30, 2018, in the manner indicated:
The following parties have been served via e-mail:
Howard P. Slomka
se@myatllaw.com


The following parties have been served via U.S. First Class Mail:

Rita Ann Rose
1217 Village Terrace Court
Dunwoody, GA 30338



I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Dated: March 30, 2018                         Signature: s/Agustina Sandoval
                                              Printed Name: AGUSTINA SANDOVAL
                                              Address: Aldridge Pite, LLP
                                                         4375 Jutland Drive, Suite 200 P.O. Box
                                                         17933 San Diego, CA 92177-0933
                                              Phone:     (858) 750-7600
                                              Fax:       (619) 590-1385
